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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
www.fisb.uscourts.gov

In re: Case No: 23-19555-BKC-SMG
Chapter 13
ROUCHEN LU SUN
Debtors /

NOTICE OF WITHDRAWAL OF DOCKET ITEM
Debtor, ROUCHEN LU SUN, by and through undersigned counsel, hereby withdraws CP #18,

as it was filed in error.

I HEREBY CERTIFY that a true copy of the above Notice was efiled/mailed to

Robin Weiner, Trustee, and to all creditors and interested parties on the attached Service List,

tis VU day or 49 \, \\eeumber , 2023.

I hereby certify that | am admitted to the Bar of the United States District Court for the Southern District of Florida,
and I am in compliance with the additional qualifications to practice in this Court set forth in Local Rule 2090-1(A).

Law Offices of David Kovari, P.A.
Attorneys for Debtor(s)

2295 N.W. Corporate Blvd., Suite 117
Boca Raton, Florida 33431
Telephone: Gey t17-8767

By:

DAVID KOVARI
FBN:0104914
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Label Matrix for local noticing
113¢-0

Case 23-19555-SMG

Southern District of Florida
Fort Lauderdale

Thu Dec 14 14:54:15 EST 2023

American Express National Bank, AENB
c/o Zwicker and Associates, P.C.
Attorneys/Agents for Creditor

P.O. Box 9043

Andover, MA 01810-0943

Centerpoint Energy
PO Box 4671
Houston, TX 77210-4671

Citi
FO Box 6190
Sioux Falls, SD 57117-6190

(p) CREDIT CORP SOLUTIONS INC
121 W ELECTION RD
SANDY UT 84020-7766

(p)EQUIFAX INC
1550 Peachtree Street NE
Atlanta, GA 30309

Internal Revenue Service
1700 Palm Beach Lakes Blvd, Ste 500
West Palm Beach, FL 33401-2013

Paypal
2211 N ist St
San Jose, CA 95131-2021

Syncb Amazon
PO Box 965065
Orlando, FL 32896-5065

Xcel
PO Box 9477
Eau Claire, WI 54702

American Express National Bank
80 Minuteman Rd

P.0. Box 9043

Andover, MA 01810-0943

Boynton Health
410 Church St SE
Minneapolis, MN 55455-0222

Chao Yang

c/o George E Warner Esq
Warner Law LLC

120 South Sixth St, Suite 1515
Minneapolis, MN 55402-1817

Citicards CBNA
5800 S Corporate Place 234
Sioux Falls, SD 57108-5027

Discover Bank

Discover Products Ine

PO Box 3025

New Albany, OH 43054-3025

Faire
101 Potreto Ave
San Francisco, CA 94103

Nordstrom TD Bank
13531 E Caley Ave
Englewood, CQ 80111-6505

Quantum3 Group LLC as agent for
Credit Corp Solutions Inc

PO Box 788
Kirkland, WA 98083-0788

TD Bank/Target
PO Box 673
Minneapolis, MN 55440-0673

David Kovari Esq
2295 NW Corporate Blvd #117
Boca Raton, FL 33431-7330

American Express
PO Box 981537
El Paso, TX 79998-1537

Broward County Tax Collector
115 $, Andrews Ave #100
Fort Lauderdale, FL 33301-1888

(p) JPEMORGAN CHASE BANK N A
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE FLOOR 01
MONROE LA 71203-4774

Clerk of Court

Hennepin County District Court
300 South Sixth St C-3
Minneapolis, MN 55487-0332

(p) DISCOVER FINANCIAL SERVICES LLC
PO BOX 3025
NEW ALBANY OH 43054-3025

Fairview
500 Harvard St SE
Minneapolis, MN 55455-0599

Office of the US Trustee
51 S.W. Ist Ave.

Suite 1204

Miami, FL 33130-1614

Sudipto Banjeree
24635 Vista Cerritos
Calabasas, CA 91302-3001

Wells Fargo Bank
PO Box 10347
Des Moines, IA 50306-0347

Robin R Weiner

Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007

Fort Lauderdale, FL 33355-9007
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Rouchen Lu Sun
924 NE 5th St
Hallandale, FL 33009-3598

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank,P. 2002 (g) (4).

Chase Bank USA NA Credit Corp Solutions Discover Bank

1191 B Newport Ctr DR, ste 101 121 W Election Rd, Suite 200 PO Box 15316
Deerfield Beach, FL 33442 Draper, UT 84020 Wilmington, DE 19850
Equifax End of Label Matrix

PO Box 740256 Mailable recipients 30

Atlanta, GA 30374 Bypassed recipients 0

Total 30
